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                             UNITED STATES DISTRICT COURT
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                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
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12   MICHAEL MCDONALD, et al.                    Case No.: 3:17-cv-04344-JD
                       Plaintiffs,
13                                               STIPULATED [PROPOSED] ORDER
     v.                                          GRANTING PLAINTIFFS’ MOTION
14   KILOO A/S, et al.                           FOR AWARD OF ATTORNEYS’ FEES,
                                                 REIMBURSEMENT OF EXPENSES,
15                   Defendants.                 AND SERVICE AWARDS IN THE
                                                 KILOO ACTION FOR DEFENDANTS
16                                               SYBO APS AND CHARTBOOST, INC.
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                                                          ORDER GRANTING MOTION FOR AWARD OF
     2103294.1
                                                       ATTORNEYS’ FEES, COSTS & SERVICE AWARDS
                                                                                  3:17-CV-04344-JD
       Case 3:17-cv-04344-JD Document 408-1 Filed 04/12/21 Page 2 of 3



 1               Having reviewed Plaintiffs’ Motion for Awards of Attorneys’ Fees, Reimbursement of
 2   Expenses, and Service Awards, and the documents submitted in support thereof (see Dkt. 372, the
 3   “Fee Motion”), and in light of the Court’s directives made during the hearing on the same, the
 4   Court now FINDS, CONCLUDES, and ORDERS as follows:
 5                                        Attorneys’ Fees and Expenses
 6               1.     On December 17, 2020, the Court held a hearing on the Fee Motion and took the

 7   matter under submission. Defendants Sybo ApS (“Sybo”) and Chartboost, Inc. (“Chartboost”) did
 8   not file oppositions to Plaintiffs’ Fee Motion.

 9               2.     Plaintiffs’ requests are summarized below, as to Sybo and Chartboost:

10                                Table 1: Plaintiffs’ Fee and Expense Requests
11
                 Defendant    Fee Request Expense Request Total Request                Payment Cap
12                 Sybo        $469,236       $55,764       $525,000                     $525,000
                 Chartboost     $94,236       $55,764       $150,000                     $150,000
13
                   Total       $563,472      $111,528       $675,000                     $675,000
14

15               3.     The Court will issue a separate order or orders as to fees, costs, and service awards

16   sought from other Defendants in this Action, and the related actions, Rushing v. The Walt Disney

17   Co., No. 3:17-cv-04419-JD, and Rushing v. ViacomCBS Inc., No. 3:17-cv-04492-JD.

18                                                Service Awards

19               4.     The Settlements separately provide that each Defendant shall pay a pro rata

20   portion of service awards that total $7,500, or $2,500 to each of the three Class Representatives

21   (i.e., named Plaintiffs) as follows. No Defendants have opposed these requests.

22                                 Table 2: Plaintiffs’ Service Award Requests
23
                             Class                  No. of
                                                                        Service Awards
24                       Representatives          Defendants
                       Michael McDonald,
25                                                                           $7,500
                         Tamara Draut,                 9
                                                                      ($833 per Defendant)
26                     Dominique Murillo

27               5.     For the reasons set forth above, it is therefore ORDERED that in accordance with
28   the terms of the Settlements, (i) Class Counsel be awarded $675,000 in reasonable attorneys’ fees
                                                                        ORDER GRANTING MOTION FOR AWARD OF
     2103294.1                                         -1-           ATTORNEYS’ FEES, COSTS & SERVICE AWARDS
                                                                                                3:17-CV-04344-JD
       Case 3:17-cv-04344-JD Document 408-1 Filed 04/12/21 Page 3 of 3



 1   and expenses ($563,472 in fees and $111,528 in expenses) by Defendants Sybo and Chartboost as
 2   reflected in Table 1, above; and (ii) the Class Representatives each receive payments of service
 3   awards in this Action, to be paid by Defendants Sybo and Chartboost as reflected in Table 2,
 4   above.
 5               IT IS SO ORDERED.
 6

 7   Dated: April 12, 2021                        ______________________________________
                                                  HON. JAMES DONATO
 8                                                United States District Judge
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                                                                   ORDER GRANTING MOTION FOR AWARD OF
     2103294.1                                     -2-          ATTORNEYS’ FEES, COSTS & SERVICE AWARDS
                                                                                           3:17-CV-04344-JD
